    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 1 of 24 PageID #:50



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NOTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

NVN MANAGEMENT, LLC.,                                 )
d/b/a ARBOR LODGING MANAGEMENT                        )
                                                      )
                    Plaintiff,                        )
                                                      )
               v.                                     )        Case No. 18-cv-3160
                                                      )
GLOBAL HOTEL SOLUTIONS, INC.,                         )
d/b/a HOTEL SOLUTIONS, INC., and                      )
FRAN MURR, CPA, CHAE,                                 )
                                                      )
                Defendants.                           )

	
                         DEFENDANTS’ ANSWER AND
               AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

       NOW COME the Defendants, Global Hotel Solutions, Inc., d/b/a Hotel Solutions, Inc.

(“Hotel Solutions”), and Fran Murr (“Murr”), by and through their undersigned counsel, and as

for their Answer to the Complaint of the Plaintiff, NVN Management, LLC., d/b/a Arbor

Lodging Management (“NVN”), states as follows:

       1.      Plaintiff NVN Management, LLC, d/b/a Arbor Lodging Management (“NVN”) is

a Delaware limited liability company with its principal place of business at 566 W. Lake Street,

Suite 320, Chicago, IL 60661. NVN’s members are Sheena Patel, an Illinois citizen; Vamsi

Bonthala, an Illinois citizen; Krishnakant Sangani, a New Jersey citizen and Suresh Patel, a New

Jersey citizen. None of NVN’s members are residents of the State of Texas, which is

Defendants’ state of citizenship for purposes of diversity.

RESPONSE: Defendants admit, upon information and belief, the allegations contained in

Paragraph 1 of the Complaint.
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 2 of 24 PageID #:51



        2.      From its offices in Illinois, NVN, operating under the name Arbor Lodging

Management, provides hotel management services for a national portfolio of hotels.

RESPONSE: Defendants admit, upon information and belief, the allegations contained in

Paragraph 2 of the Complaint.

        3.      Defendant Global Hotel Solutions, Inc., d/b/a Hotel Solutions, Inc. (“Hotel

Solutions”), is a Texas corporation with its principal place of business at 4121 State Hwy 6

South, Suite 240, College Station, TX 77845. Hotel Solutions provides monthly accounting

services, acquisition support services, accounting software implementation and training, tax

preparation, advisory services, and consulting services for clients in the hospitality industry

across the nation, including in Illinois.

RESPONSE: Defendants deny that Hotel Solution’s address is at 4121 State Highway 6 South,

Suite 240, College Station, Texas 77845 in paragraph 3. Defendants admit to the remaining

portion of paragraph 3.

        4.      Defendant Fran Murr is Texas resident, residing in College Station, Texas. (For

sake of privacy, this complaint does not list the full address of Ms. Murr’s residence.) Fran Murr

is the President of Hotel Solutions and directed Hotel Solutions’ business at all times. Fran

Murr’s business address is 4121 State Hwy 6 South, Suite 240, College Station, TX 77845.

RESPONSE: Defendants deny that Fran Murr’s business address is at 4121 State Highway 6

South, Suite 240, College Station, Texas 77845 in paragraph 3. Defendants admit to the

remaining portion of paragraph 4.

        5.      Fran Murr is a certified public accountant (“CPA”), subject to the American

Institute of CPAs’ Professional Code of Contact and state ethical and regulatory rules and

standards for licensed CPAs.




	                                                2
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 3 of 24 PageID #:52



RESPONSE: Defendants admit to the allegations in paragraph 5.

       6.      Fran Murr is also a certified hospitality accountant executive (“CHAE”), an

accounting certification specific to the hotel industry, and is subject to the Code of Ethics for

CHAEs.

RESPONSE: Defendants admit to the allegations in paragraph 6.

                                     Jurisdiction and Venue

       1.      This Court has jurisdiction over NVN’s claims against Hotel Solutions and Fran

Murr because NVN is completely diverse from both Hotel Solutions and Fran Murr under 28

U.S.C. 1332(a)(l) and the amount in controversy exceeds $75,000 as further detailed below.

RESPONSE: Defendants deny the allegations contained in paragraph 1 and puts Plaintiff to his

burden of proof thereof, except admits that they are residents of the State of Texas.

       2.      Hotel Solutions purposely directed its activities to Illinois and this litigation arises

from those activities, including but not limited to:

       a. Breaching its fiduciary duties as an accounting and tax-related service provider to

            NVN, with the harm from those breaches being borne by NVN in Illinois;

            RESPONSE: Defendants deny the allegations in paragraph 2(a).

       b. Initiating the contractual relationship with NVN, a business operating in Chicago,

            Illinois that Hotel Solutions knew operated out of Chicago, Illinois;

            RESPONSE: Defendants admit to the allegations in paragraph 2(b).

       c. Sending the subject contract and related documents to NVN in Illinois;

            RESPONSE: Defendants admit to the allegations in paragraph 2(c).

       d. Including in the subject contract a choice-of-law provision stating that Illinois law

            governs the parties’ contractual relationship;




	                                                 3
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 4 of 24 PageID #:53



            RESPONSE: Defendants admit to the allegations in paragraph 2(d).

       e. Processing, preparing, and submitting tax documents, including Illinois tax

            documents, for NVN;

            RESPONSE: Defendants admit to the allegations in paragraph 2(e).

       f. Maintaining NVN’s Illinois-based accounting software;

            RESPONSE: Defendants admit to the allegations in paragraph 2(f).

       g. Inputting accounting and cash-flow information in NVN’s Illinois-based accounting

            systems;

            RESPONSE: Defendants admit to the allegations in paragraph 2(g).

       h. Submitting monthly reports, including income statements and budgets, to NVN in

            Illinois for review by NVN in Illinois and as the basis for NVN’ s hotel management

            conducted in Illinois;

            RESPONSE: Defendants admit to the allegations in paragraph 2(h).

       i. Providing services to NVN utilizing NVN’s Illinois-based records and software; and

            RESPONSE: Defendants admit to the allegations in paragraph 2(i).

       j. Providing services to NVN utilizing information compiled by NVN in Illinois and

            transmitted by NVN in Illinois.

            RESPONSE: Defendants admit to the allegations in paragraph 2(j).

       3.      Fran Murr is subject to specific personal jurisdiction in this Court because she

breached her fiduciary duties as CPA to NVN, with the harm from those breaches being borne by

NVN in Illinois. Fran Murr is further subject to specific personal jurisdiction in this Court

because she directed her fraudulent misrepresentations to NVN personnel in Illinois and NVN

bore the impact of those fraudulent misrepresentations in Illinois.




	                                                4
     Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 5 of 24 PageID #:54



RESPONSE: Defendants deny the allegations in paragraph 3 in its entirety.

        4.      This Court is the proper venue for NVN’s claims under 28 U.S.C.§ 1391(b)

because a substantial parts of the events giving rise to NVN’s claims occurred in Chicago,

Illinois, which is within this District.

RESPONSE: Defendants deny the allegations in paragraph 4.

                             The parties entered into the May 2017 Contract.1

        5.      On May 8, 2017, Hotel Solutions sent NVN a copy of the Hotel Accounting

Services Agreement between the parties, with an effective date of May 2017 (the “May 2017

Contract”).

RESPONSE: Defendants admits to the allegations in paragraph 5.

        6.      The parties did not sign the May 2017 Contract document, but on May 25, 2017,

in emails between NVN and Hotel Solutions, NVN and Hotel Solutions agreed in writings

signed by each of the parties to the terms of the May 2017 Contract.

RESPONSE: Defendants admit that the May 2017 contract was not signed by the parties as

stated in paragraph 6; however, Defendants deny that there was an agreement as to the terms of

the May 2017 contract.

        7.      In Hotel Solutions’ May 25 emails, it stated “[w]e’re very happy and feel very

fortunate to be working with Arbor {NVN} !”

RESPONSE: Defendants lack knowledge or information to form a belief about the truth

allegations contained in paragraph 7.




																																																													
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  	Defendants deny the parties entered into a May 2017 contract.	

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     Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 6 of 24 PageID #:55



        8.      Under Section 10.5 of the May 2017 Contract, “[t]his Agreement shall be

construed, both as to its validity and as to the performance of the parties, in accordance with the

laws of the state of Illinois.”

RESPONSE: Defendants admit to the allegations in paragraph 8.

        9.      Under Section 3.1 of the May 2017 Contract, “[t]his Agreement shall remain in

effect for no less than 20 Months and thereafter until either party terminates by providing no

less than 60 days written notice.”

RESPONSE: Defendants admit to the allegations in paragraph 9.

        10.     Thus, under Section 3.1 of the May 2017 Contract, the term of the May 2017

Contract was from May 2017 through December 2018, and could not be terminated prior to

December 2018.

RESPONSE: Defendants deny the allegations contained in paragraph 10 as the May 2017

contract was not executed between the parties.

        11.     Under the May 2017 Contract, Hotel Solutions was to provide accounting and tax

preparation services to NVN, including but not limited to:

        a. Implement, manage and maintain NVN’s M3 accounting software system;

        b. Preparation and timely submission of all required sales, excise and occupancy tax

        filings and related documents;

        c. Cash-flow oversight and accounting for NVN’s properties, including maintenance of

        spreadsheets to track cash management;

        d. Prepare and process accounts payable and issue vendor checks;

        e. Preparation of payroll journals;




	                                                6
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 7 of 24 PageID #:56



       f. Coding and entry of charges in NVN’s system for NVN’ s mortgage, insurance, and

       taxes;

       g. Preparation of monthly reports, monthly income and expenses statements, balance

       sheets, and budgets for each hotel managed by NVN to facilitate the review of this

       information and business planning by NVN representatives in Illinois;

       h. Preparation and completion of general ledger reconciliations, and

       i. As-needed training on issues related to accounting and NVN’ s M3 accounting software

       system.

RESPONSE: Defendants deny the allegations contained in paragraph 11, including subparts

(a)-(i), as the May 2017 contract was not executed between the parties.

       12.      As a manager of hotel properties, NVN relied on Hotel Solutions to perform all its

obligations under the May 2017 Contract to ensure that NVN could properly manage its portfolio

of hotels, maintain its M3 accounting software, meet payroll, comply with its tax and insurance

obligations, and avoid penalties and fines for failure to meet its tax and insurance obligations.

RESPONSE: Defendants lack knowledge or information to form a belief about the truth

allegations contained in paragraph 12.

       13.      In reliance on Hotel Solutions agreeing to perform its obligations under the May

2017 Contract through at least December 2018, NVN did not hire personnel or other vendors to

perform the accounting and tax-preparation services Hotel Solution agreed to perform through

December 2018.

RESPONSE: Defendants lack knowledge or information to form a belief about the truth

allegations contained in paragraph 13.




	                                                7
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 8 of 24 PageID #:57



       14.     NVN agreed to pay Hotel Solutions $1450 per month for each full service hotel

property in the portfolio of hotels for which Hotel Solutions provided services.

RESPONSE: Defendants lack knowledge or information to form a belief about the truth

allegations contained in paragraph 14.

       15.     NVN agreed to pay Hotel Solutions $1150 per month for each limited service

hotel property in the portfolio of hotels for which Hotel Solutions provided services.

RESPONSE: Defendants lack knowledge or information to form a belief about the truth

allegations contained in paragraph 15.

       16.     On average, NVN paid Hotel Solutions a total of $19,500 per month under the

May 2017 Contract.

RESPONSE: Defendants deny the allegations contained in paragraph 16 as the May 2017

contract was not executed between the parties.

       17.     NVN paid Hotel Solutions the agreed monthly rates through December 2017 at

which point Hotel Solutions unilaterally ended the relationship with NVN.

RESPONSE: Defendants deny the allegations contained in paragraph 17 as the May 2017

contract was not executed between the parties.

       18.     NVN fully performed its obligations under the May 2017 Contract. In fact, NVN

performed more than its agreed obligations once Hotel Solutions stopped performing services

that Hotel Solutions agreed to perform under the May 2017 Contract.

RESPONSE: Defendants deny the allegations contained in paragraph 18 as the May 2017

contract was not executed between the parties.




	                                                8
     Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 9 of 24 PageID #:58



                               Hotel Solutions breaches the May 2017 Contract.2

         19.      The parties operated under the May 2017 Contract until without notice on

September 12, 2017, less than four months into the 20 month term of the May 2017 Contract,

Hotel Solutions, via an email from Fran Murr, demanded NVN enter in a new agreement with

Hotel Solutions.

RESPONSE: Defendants deny the allegations contained in paragraph 19 as the May 2017

contract was not executed between the parties.

         20.      In Fran Murr’s September 12, 2017 email demanded that NVN pay $1700 per

month for each full service property (a 17% price increase) and $1400 per month (a 22% price

increase) for each limited service property.

RESPONSE: Defendants admit the allegations in paragraph 20.

         21.      In her September 12, 2017 email, Fran Murr stated that the price increases would

be “effective starting with [Hotel Solutons’] October services.

RESPONSE: Defendants admits to the allegations in paragraph 21.

         22.      In her September 12, 2017 email, Fran Murr stated that if NVN would not

capitulate to Hotel Solution’s demand for a new agreement, Hotel Solutions would continue

services for November and December 2017 at the unilaterally-increased rates and would cease

providing any services to NVN at the end of December 2017.

RESPONSE: Defendants admits to the allegations in paragraph 22.

         23.      Beginning in November 2017, Fran Murr directed Hotel Solutions to stop

performing many accounting services it agreed to perform under the May 2017 Contract,

including but not limited to:

         a. Preparing and maintaining general ledger reconciliations;
																																																													
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   Defendants deny any breach of a May 2017 contract.


	                                                         9
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 10 of 24 PageID #:59



        b. Preparing monthly income reports and budgets;

        c. Preparing and submitting tax-related documents;

        d. Preparing and maintaining accounting software, and

        e. Inputting information in accounting software.

RESPONSE: Defendants deny the allegations contained in paragraph 23, including subparts

(a)-(e), as the May 2017 contract was not executed between the parties.

        24.    Despite attempting to force NVN into a new agreement with increased rates, on

October 9, 2017, Fran Murr again confirmed in writing in an email to NVN that the parties’

agreement was “through Dec. 2018 beginning May 2017.”

RESPONSE: Defendants deny the allegations contained in paragraph 24 as the May 2017

contract was not executed between the parties.

        25.    Hotel Solutions has never provided written 60-day notice of termination of the

May 2017 Contract and could not have provided such notice of termination prior to December

2018.

RESPONSE: Defendants deny the allegations contained in paragraph 25 as the May 2017

contract was not executed between the parties.

        26.    Due to the abrupt nature of Hotel Solutions’ and Fran Murr’s decision to

unilaterally stop performing under the terms agreed to in the May 2017 Contract, NVN was

forced to incur substantial costs to minimize disruption to its business, maintain its accounting,

maintain payroll, manage cash flow for its portfolio of hotels, pay invoices and meet its tax

obligations. The costs incurred by NVN have included:

        a. Hiring new NVN personnel to perform certain accounting services Hotel Solutions had

        agreed to perform through December 2018;




	                                                10
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 11 of 24 PageID #:60



       b. Hiring a new vendor at higher rates than the monthly rates under the May 2017

       Contract to perform certain services Hotel Solutions had agreed to perform through

       December 2018;

       c. Having NVN’s VP of Finance perform hundreds of hours of overtime to perform

       certain accounting services Hotel Solutions had agreed to perform through December

       2018; and

       d. Buying additional software and paying for training on and maintenance of that

       software to duplicate certain services Hotel Solutions had agreed to perform through

       December 2018.

RESPONSE: Defendants deny the allegations contained in paragraph 26 as the May 2017

contract was not executed between the parties. Further answering, Defendants lack knowledge

or information to form a belief about the truth allegations contained in this paragraph, including

subparts (a)-(d).

       27.     NVN has been forced to incur at least $235,420 in costs it would not otherwise

have incurred if Hotel Solutions had met its obligations under the May 2017 Contract. Since

NVN is still in the process of planning its recovery from Hotel Solutions’ breach, NVN

continues to incur costs due to the breach.

RESPONSE: Defendants deny the allegations contained in paragraph 27 as the May 2017

contract was not executed between the parties. Further answering, Defendants lack knowledge

or information to form a belief about the truth allegations contained in this paragraph as to any

alleged damages incurred by NVN.

       28.     Hotel Solutions’ abrupt termination of services included not preparing and timely

submitting certain the tax-related documents that Hotel Solutions agreed to prepare and submit




	                                               11
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 12 of 24 PageID #:61



under the May 2017 Contract. Hotel Solutions is thus subject to potential tax-related penalties

and fines directly caused by Hotel Solution’s breach. The potential tax-related penalties and

fines is unknown at this time, but if incurred represent further costs NVN has been forced to bear

due to Hotel Solutions’ breach.

RESPONSE: Defendants deny the allegations contained in paragraph 28 as the May 2017

contract was not executed between the parties.

                   Hotel Solutions never intended to honor the May 2017 Contract.3

        29.     Based on information from former employees of Hotel Solutions, Fran Murr held

an internal meeting of Hotel Solutions’ employees around the time that Fran Murr directed Hotel

Solutions to enter into the May 2017 Contract. Based on information from former employees of

Hotel Solutions, at this meeting Fran Murr stated that Hotel Solutions never intended to honor

the May 2017 Contract and would demand NVN pay rates in excess of the rates agreed to under

the May 2017 Contract.

RESPONSE: Defendants deny the allegations contained in paragraph 29. Further, the May

2017 contract was not executed between the parties.

        30.     Despite not intending to honor the rates in the May 2017 Contract, Fran Murr

directed Hotel Solutions personnel to secure NVN’s agreement to the May 2017 Contract and

confirm to NVN that Hotel Solutions would operate under the May 2017 Contract.

RESPONSE: Defendants deny the allegations contained in paragraph 30. Further, the May

2017 contract was not executed between the parties.




																																																													
3
  	Defendants deny a May 2017 contract was ever executed between the parties.	

	                                                 12
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 13 of 24 PageID #:62



           31.   From the time the parties negotiated and entered into the May 2017 Contract until

Fran Murr demanded NVN pay higher-than-agreed rates on September 12, 2017, Fran Murr

never told NVN that she and Hotel Solutions would not honor the May 2017 Contract.

RESPONSE: Defendants deny the allegations contained in paragraph 31. Further, the May

2017 contract was not executed between the parties.

           32.   At the time Fran Murr secured NVN’ s agreement to the May 2017 Contract, Fran

Murr knew that she did not intend to honor the agreed rates in the May 2017 Contract and would

direct Hotel Solutions not to perform its contractual obligations through December 2018.

RESPONSE: Defendants deny the allegations contained in paragraph 32. Further, the May

2017 contract was not executed between the parties.

           33.   Fran Murr knew that by securing NVN’s agreement to the May 2017 Contract and

never telling NVN that Hotel Solutions did not intend to honor the May 2017 Contract, NVN

would plan its operations and pay Hotel Solutions in reliance on receiving services from Hotel

Solutions until December 2018 at the rates agreed to in the May 2017 Contract.

RESPONSE: Defendants deny the allegations contained in paragraph 33. Defendants deny the

allegations contained in paragraph 33 as the May 2017 contract was not executed between the

parties.

           34.   NVN planned its business operations, including personnel decisions, relying on

Hotel Solutions providing the agreed services at the agreed rates through December 2018.

RESPONSE: Defendants deny the allegations contained in paragraph 34. Defendants deny the

allegations contained in paragraph 34 as the May 2017 contract was not executed between the

parties.




	                                                13
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 14 of 24 PageID #:63



       35.    NVN’s reliance was reasonable because the parties had agreed to the May 2017

Contract under which Hotel Solutions agreed to provide services at the agreed rates through

December 2018.

RESPONSE: Defendants deny the allegations contained in paragraph 35 as the May 2017

contract was not executed between the parties.

       36.    NVN’s reliance was also reasonable because neither Fran Murr or any other Hotel

Solutions personnel told NVN that Fran Murr did not intend to honor the May 2017 Contract.

RESPONSE: Defendants deny the allegations contained in paragraph 36 as the May 2017

contract was not executed between the parties.

       37.    Due to NVN’s reliance on Fran Murr’s representations that Hotel Solutions would

perform the May 2017 Contract despite Fran Murr’s intent not to honor the May 2017, Contract,

coupled with Fran Murr directing Hotel Solutions to cease performing service it agreed to

perform under the May 2017 Contract, NVN has incurred and continued to incur substantial

costs. The costs incurred by NVN have included:

       a. Hiring new NVN personnel to perform certain accounting services Hotel Solutions

       had agreed to perform through December 2018;

       b. Hiring a new vendor at higher rates than the monthly rates under the May 2017

       Contract to perform certain services Hotel Solutions had agreed to perform through

       December 2018; and

       c. Buying additional software and paying for training on and maintenance of that

       software to duplicate certain services Hotel Solutions had agreed to perform

       through December 2017; and

       d. Preparing and submitting tax-related documents that NVN failed to prepare and




	                                                14
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 15 of 24 PageID #:64



           timely submit as it agreed to under the May 2017 Contract.

RESPONSE: Defendants deny the allegations contained in paragraph 37. Further answering,

Defendants lack knowledge or information to form a belief about the truth of the allegations

contained in this paragraph’s subparts (a)-(d).

           38.    NVN has been forced to incur at least $235,420 in costs it would not otherwise

have incurred if Hotel Solutions had met its obligations under the May 2017 Contract. Since

NVN is still in the process of planning its recovery from Hotel Solutions’ breach, NVN

continues to incur costs due to the breach.

RESPONSE: Defendants deny the allegations contained in paragraph 38 as the May 2017

contract was not executed between the parties. Further answering, Defendants lack knowledge

or information to form a belief about the truth of as to any alleged damages to NVN as contained

in this paragraph.

           39.    Hotel Solutions’ abrupt termination of services included not preparing and timely

submitting certain the tax-related documents that Hotel Solutions agreed to prepare and submit

under the May 2017 Contract. Hotel Solutions is thus subject to potential tax-related penalties

and fines directly caused by Hotel Solution’s breach. The potential tax-related penalties and

fines is unknown at this time, but if incurred represent further costs NVN has been forced to bear

due to Hotel Solutions’ breach.

RESPONSE: Defendants deny the allegations contained in paragraph 39. Defendants deny the

allegations contained in paragraph 39 as the May 2017 contract was not executed between the

parties.




	                                                 15
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 16 of 24 PageID #:65



                           Count I Breach of Contract against Hotel Solutions

       40.     NVN incorporates its allegations in paragraphs I through 38 as if fully stated in

this paragraph 39. [sic]

RESPONSE: Defendants incorporate their answers in paragraphs 1 through 39 above as if fully

stated in this response.

       41.     The May 2017 Contract is a binding and enforceable contract between Hotel

Solutions and NVN.

RESPONSE: Defendants deny the allegations contained in paragraph 41 as the May 2017

contract was not executed between the parties.

       42.     The term of the May 2017 Contract was from May 2017 through December 2018,

and could not be terminated prior to December 2018.

RESPONSE: Defendants deny the allegations contained in paragraph 42 as the May 2017

contract was not executed between the parties.

       43.     NVN fully performed its obligations under the May 2017 Contract.

RESPONSE: Defendants deny the allegations contained in paragraph 42 as the May 2017

contract was not executed between the parties.

       44.     Hotel Solutions breached its obligations under the May 2017 Contract, including:

       a. Ceasing to perform services prior to December 2018;

       b. Demanding NVN pay rates higher than the monthly rates Hotel Solutions proposed

       and agreed to under the May 2017 Contract;

       c. Refusing to prepare and maintaining general ledger reconciliations;

       d. Refusing to prepare monthly income reports and budgets;

       e. Refusing to prepare and submit tax-related documents;




	                                                16
      Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 17 of 24 PageID #:66



        f. Refusing to prepare and maintain accounting software, and

        g. Refusing to input information in accounting software.

RESPONSE: Defendants deny the allegations contained in paragraph 44 as the May 2017

contract was not executed between the parties.

        45.    Hotel Solutions’ breaches proximately caused and continues to cause NVN to

suffer damages as detailed above in an amount of at least $235,420.

RESPONSE: Defendants deny the allegation contained in paragraph 45 as the May 2017

contract was not executed between the parties. Further, Defendants lack knowledge or

information to form a belief about the truth of the allegations of damages contained in paragraph

45.

         Count II – Breach of Fiduciary Duty against Hotel Solutions and Fran Murr

        46.    NVN incorporates its allegations in paragraphs 1 through 44 as if fully stated in

this paragraph 45. [sic]

RESPONSE: Defendants incorporate their answers in paragraphs 1 through 45 above as if fully

stated in this response.

        47.    Fran Murr is a registered CPA and, through her company Hotel Solutions

provides accounting services to the hospitality industry.

RESPONSE: Defendants admit the allegations contained in paragraph 47.

        48.    As a CPA and CHAE Fran Murr holds herself out as an accounting expert in the

hospitality industry.

RESPONSE: Defendants admit the allegations contained in paragraph 48.

        49.    Similarly as a provider of accounting and tax-related services, Hotel Solutions

itself out as accounting experts in the hospitality industry.




	                                                 17
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 18 of 24 PageID #:67



RESPONSE: Defendants admit the allegations contained in paragraph 49.

        50.     On its website, Hotel Solutions states that its “values” include that “[w]e are fair

to all parties and act with integrity.”

RESPONSE: Defendants admit the allegations contained in paragraph 50.

        51.     Under the May 2017 Contract, Hotel Solutions agreed to provide accounting and

tax-related services to NVN, including managing the financial affairs of the portfolio of hotels

managed by NVN and accurately and timely preparing and submitting tax filings.

RESPONSE: Defendants deny the allegations contained in paragraph 51 as the May 2017

contract was not executed between the parties.

        52.     NVN entrusted Hotel Solutions to provide accounting and tax-related services to

NVN, including managing the financial affairs of the portfolio of hotels managed by NVN and

accurately and timely preparing and submitting tax filings.

RESPONSE: Defendants deny the allegations contained in paragraph 52 as the May 2017

contract was not executed between the parties.

        53.     NVN depended on Hotel Solutions to provide accounting and tax-related services

to NVN, including managing the financial affairs of the portfolio of hotels managed by NVN and

accurately and timely preparing and submitting tax filings.

    RESPONSE: Defendants deny the allegations contained in paragraph 53 as the May 2017

    contract was not executed between the parties.

        54.     Fran Murr and Hotel Solutions were fiduciaries of NVN.

RESPONSE: Defendants deny the allegations contained in paragraph 54 as the May 2017

contract was not executed between the parties.




	                                                18
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 19 of 24 PageID #:68



           55.   By refusing to perform accounting and tax-related services for the agreed term of

the May 2017 Contract unless NVN paid higher than the agreed rates for those services, Fran

Murr and Hotel Solutions breached their fiduciaries duties of care and loyalty by putting their

pecuniary interests above their obligation to provide accounting services and tax-related services

to NVN.

RESPONSE: Defendants deny the allegations contained in paragraph 55 as the May 2017

contract was not executed between the parties.

           56.   By refusing to disclose that they never intended to honor the terms of the May

2017 Contract, Fran Murr and Hotel Solutions breached their fiduciary duty to disclose all

relevant facts to NVN, particularly knowing that NVN entrusted Hotel Solutions and depended

on Hotel Solutions for NVN’s accounting and tax-related needs.

RESPONSE: Defendants deny the allegations contained in paragraph 56. Defendants deny the

allegations contained in paragraph 56 as the May 2017 contract was not executed between the

parties.

           57.   By refusing to prepare and file tax-related documents because NVN would not

capitulate to Fran Murr’s and Hotel Solutions’ demand to pay higher than the agreed rates for

these services, and thus exposing NVN to penalties and fines, Fran Murr and Hotel Solutions

breached their fiduciary duties of care and loyalty to NVN.

RESPONSE: Defendants deny the allegations contained in paragraph 57 as the May 2017

contract was not executed between the parties.

           58.   Both Fran Murr and Hotel Solutions breached their fiduciary duties willfully,

wantonly, maliciously, or oppressively.

RESPONSE: Defendants deny the allegations contained in paragraph 58.




	                                                19
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 20 of 24 PageID #:69



       59.     As a direct and proximate result of Fran Murr’s and Hotel Solutions’ breaches,

NVN has been suffered and continues to suffer damages of at least $235,420.

RESPONSE: Defendants deny the allegation of breach contained in paragraph 59. Further,

Defendants lack knowledge or information to form a belief about the truth of the allegations of

damages contained in paragraph 59.

       60.     Due to the willful, wanton, malicious, or oppressive nature of Fran Murr’s and

Hotel Solutions’ breaches, both Fran Murr and Hotel Solutions are liable for punitive damages,

including but not limited to NVN’s attorneys’ fees.

RESPONSE: Defendants deny the allegation of breach contained in paragraph 60.

                  Count III – Fraud against Hotel Solutions and Fran Murr

       61.     NVN incorporates its allegations in paragraphs I through 59 as if fully stated in

this paragraph 60. [sic]

RESPONSE: Defendants incorporate their answers in paragraphs 1 through 60 above as if fully

stated in this response.

       62.     Hotel Solutions’ agreement to provide accounting and tax-related services to

NVN through at least December 2018 under the terms of the May 2017 Contract was material to

NVN’s decision to enter into the May 2017 Contract.

RESPONSE: Defendants deny the allegations contained in paragraph 62 as the May 2017

contract was not executed between the parties.

       63.     NVN entrusted its accounting and tax-related services to Hotel Solutions relying

on Fran Murr’s and Hotel Solutions’ standing as accountants specializing in the hospitality

industry.




	                                                20
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 21 of 24 PageID #:70



RESPONSE: Defendants deny the allegations contained in paragraph 63 as the May 2017

contract was not executed between the parties.

       64.     Additionally, NVN planned its business, including making personnel decisions,

relying on Hotel Solutions’ agreement to perform its obligations under the May 2017 Contract.

RESPONSE: Defendants deny the allegations contained in paragraph 64 as the May 2017

contract was not executed between the parties.

       65.     Unbeknownst to NVN, at the time Hotel Solutions was securing NVN’s

agreement to the May 2017 Contract, Fran Murr was telling Hotel Solutions’ employees that

Fran Murr did not intend to honor the May 2017 Contract and would cut off Hotel Solutions’

services to NVN if NVN did not capitulate to Fran Murr’ s demand to pay higher-than-agreed

rates for those services.

RESPONSE: Defendants deny the allegations contained in paragraph 65 as the May 2017

contract was not executed between the parties.

       66.     Fran Murr never disclosed that she did not intend to honor the May 2017 Contract

and would cut off Hotel Solutions’ services to NVN if NVN did not capitulate to Fran Murr’s

demand to pay higher-than-agreed rates for those services.

RESPONSE: Defendants deny the allegations contained in paragraph 66 as the May 2017

contract was not executed between the parties.

       67.     NVN’s reasonably relied on Fran Murr’s and Hotel Solutions’ representations and

agreement that they would honor their obligations under the May 2017 Contact and provide the

agreed services at the agreed rates.

RESPONSE: Defendants deny the allegations contained in paragraph 67 as the May 2017

contract was not executed between the parties.




	                                                21
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 22 of 24 PageID #:71



         68.   Fran Murr’s and Hotel Solutions’ fraudulent conduct caused NVN to be

unprepared for suddenly transitioning accounting and tax-preparation services to NVN personnel

and a new vendor.

RESPONSE: Defendants deny the allegations contained in paragraph 68.

         69.   Fran Murr’s and Hotel Solutions’ fraudulent conduct has proximately caused

NVN to incur at least $235,420 in costs NVN would not have had to incur but for Fran Murr’s

and Hotel Solutions’ fraud.

RESPONSE: Defendants deny the allegation of fraudulent conduct contained in paragraph 69.

Further, Defendants lack knowledge or information to form a belief about the truth of the

allegations of damages contained in paragraph 69.

         70.   Further, Fran Murr’s and Hotel Solutions’ fraudulent conduct coupled with their

failure to prepare and submit tax-related documents has exposed NVN to potential penalties and

fines.

RESPONSE: Defendants deny the allegation of fraudulent conduct contained in paragraph 70.

Further, Defendants lack knowledge or information to form a belief about the truth of the

allegations of potential penalties contained in paragraph 70.

         WHEREFORE, Defendants, Global Hotel Solutions, Inc., d/b/a Hotel Solutions, Inc.

and Fran Murr requests that this Court enter judgment in their favor and against Plaintiff, and for

such other and further relief as is appropriate.




	                                                  22
     Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 23 of 24 PageID #:72



                                   AFFIRMATIVE DEFENSE

                                   Lack of Contract Formation

       1.        On May 8, 2017, Hotel Solutions sent NVN a copy of a proposed Hotel

Accounting Services Agreement between the parties, with an effective date of May 2017 (the

“May 2017 Contract”).

       2.        The parties did not sign the May 2017 Contract document, and never agreed to the

terms of the proposed May 2017 Contract.

       3.        The parties neither agreed to nor accepted the May 2017 Contract and continued

to operate under the parties’ previously signed and executed contract.

       4.        As such, the May 2017 Contract was never formed and cannot establish a basis

for any claim purported to arise out of that unexecuted contract.

           WHEREFORE, Defendants, Global Hotel Solutions, Inc., d/b/a Hotel Solutions, Inc.

and Fran Murr requests that this Court enter judgment in their favor and against Plaintiff, and for

such other and further relief as is appropriate.

Dated: July 9, 2018                                          RESPECTFULLY SUBMITTED,
                                                             /s/ Kristi T. Stark
                                                             Kristi T. Stark
                                                             Daniel Stark P.C.
                                                             100 West William J. Bryan
                                                             Bryan, Texas 77803
                                                             (214) 783-4258
                                                             (Pro hac vice pending)
		
	      	         	      	      	       	       	        	    /s/ Ethan E. White
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                                                             Counsel for Defendants


	                                                  23
    Case: 1:18-cv-03160 Document #: 20 Filed: 07/09/18 Page 24 of 24 PageID #:73



                                CERTIFICATE OF SERVICE


        I, the undersigned, being first duly sworn upon oath, depose, and say that I caused to be
served the foregoing document by electronically filing the same with the Clerk for the U.S.
District Court for the Northern District of Illinois, Eastern Division, a copy of which was then
forwarded to each attorney of record by CM/ECF on July 9, 2018.


Dated: July 9, 2018                          RESPECTFULLY SUBMITTED,

                                             By: /s/ Ethan E. White


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	                                               24
